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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

                                                             §
  LA UNION DEL PUEBLO ENTERO, et al.,                        §
                                                             §
              Plaintiffs,                                    §
                                                             §
 v.                                                          §
                                                             §      CIVIL ACTION NO:
                                                             §      5:21-CV-0844-XR
 GREGORY W. ABBOTT, et al.,                                  §
                                                             §
              Defendants.                                    §


ORIGINAL ANSWER OF DEFENDANT MICHAEL SCARPELLO TO PLAINTIFFS LA
UNIÓN DEL PUEBLO ENTERO, FRIENDSHIPWEST BAPTIST CHURCH, THE ANTI-
   DEFAMATION LEAGUE AUSTIN, SOUTHWEST, AND TEXOMA REGIONS,
 SOUTHWEST VOTER REGISTRATION EDUCATION PROJECT, TEXAS IMPACT,
   MEXICAN AMERICAN BAR ASSOCIATION OF TEXAS, TEXAS HISPANICS
   ORGANIZED FOR POLITICAL EDUCATION, JOLT ACTION, WILLIAM C.
 VELASQUEZ INSTITUTE, FIEL HOUSTON INC., and JAMES LEWIN’S AMENDED
                            COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Defendant Michael Scarpello (“Defendant Scarpello”), in his official

capacity, and for his Original Answer to Plaintiffs La Unión Del Pueblo Entero, Friendshipwest

Baptist Church, The Anti-Defamation League Austin, Southwest, And Texoma Regions,

Southwest Voter Registration Education Project, Texas Impact, Mexican American Bar

Association Of Texas, Texas Hispanics Organized For Political Education, Jolt Action, William

C. Velasquez Institute, Fiel Houston Inc., and James Lewin’s Amended Complaint (“Complaint”)

(Doc. 140), which now adds him to their pleadings, and admits, denies, and alleges as follows:

                                         I.
                                RESPONSIVE PLEADINGS

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                                        INTRODUCTION

          1.   Defendant Scarpello admits that the Texas Secretary of State office said that the

2020 general election in Texas was “smooth and secure,” the 2020 General Election took place

during a global pandemic, election officials and voters had to deal with obstacles due to the

pandemic, and the Texas electorate is changing. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remainder of the allegations in Paragraph 1,

therefore the allegations are denied.

          2.   Paragraph 2 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. As to the remaining allegations,

Defendant Scarpello admits that the Texas Legislature enacted SB 1, SB 1 limits early voting

hours, SB 1 promulgates new rules granting certain authority to poll watchers and rules regarding

providing assistance to a voter, SB 1 criminalizes certain conduct, voters with disabilities and

limited English proficiency may need assistance voting, and SB 1 restricts drive thru voting, the

use of movable structures, and 24-hour voting.        Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          3.   Paragraph 3 of Plaintiffs’ Complaint contains legal conclusions and argument to

which no responsive pleading is required and references to quotes or statements from politicians

that speak for themself. To the extent any response is required, Defendant admits that Gregory W.

Abbott is the governor of the State of Texas and has called for voting reform legislation. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the allegations in

Paragraph 3, therefore the allegations are denied.


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       4.      Paragraph 4 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello admits that Texas has a racially

diverse electorate, the Texas electorate is changing demographically, minority turn out in the 2020

general election was high, and some Texas legislatures have alleged there are threats to election

integrity. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

       5.      Paragraph 4 contains legal conclusions and arguments to which no response is

required and references to SB 1, which speaks for itself. To the extent the allegations in Paragraph

5 contains factual allegations to which a responsive pleading is required, Defendant Scarpello

admits that SB 1 has certain rules regarding obtaining assistance while voting in person and

promulgates new rules granting certain authority to poll watchers. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

       6.      Paragraph 6 contains factual allegations and legal conclusions to which a

responsive pleading is not required. To the extent the allegations in Paragraph 6 contains factual

allegations to which a responsive pleading is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the allegations, therefore the allegations are denied.

                               II. JURISDICTION AND VENUE

       7.      Paragraph 7 contains statements to which no responsive pleading is required. To

the extent a response is required, Defendant Scarpello admits that Plaintiff brings this action under

28 U.S.C. §§ 1331 and 1343(a)(3) and (4); however, Defendant Scarpello denies that the Court

has jurisdiction over all the claims against him since some of the Plaintiffs lack standing.



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       8.      Defendant Scarpello admits that venue is proper and Defendant Scarpello resides

in Texas. Defendant Scarpello, however, denies that he performs his official duties in this district.

                                          III. PARTIES

       9.      Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 9, therefore the allegations are denied.

       10.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 10, therefore the allegations are denied.

       11.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 11, therefore the allegations are denied.

       12.     Defendant Scarpello admits that Plaintiff Anti-Defamation League Austin,

Southwest, and Texoma Regions (“ADL”) is involved in protection of civil rights, including

against discrimination, racism, extremism, and antisemitism and to fight hatred. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remainder of the

allegations in Paragraph 12, therefore the allegations are denied.

       13.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 13, therefore the allegations are denied.

       14.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 14, therefore the allegations are denied.

       15.     Defendant Scarpello admits that the Mexican American Bar Association of Texas

(“MABA-TX”) is a membership organization of Latino lawyers in Texas. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remainder of the allegations in

Paragraph 15, therefore the allegations are denied.



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       16.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 16, therefore the allegations are denied.

       17.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 17, therefore the allegations are denied.

       18.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 18, therefore the allegations are denied.

       19.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 19, therefore the allegations are denied.

       20.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 20, therefore the allegations are denied.

B. Defendants

       21.     Defendant Scarpello admits Paragraph 21.

       22.     Paragraph 22 contains references to statutory authority that speaks for itself. As to

the remainder of the allegations, Defendant Scarpello admits that John B. Scott is the current Texas

Secretary of State and the Election Code indicates that the Texas Secretary of State provide

direction and guidance.

       23.     Paragraph 23 contains legal arguments to which no response is required and

references to pleadings that speak for themself. As to the remaining allegations, Defendant

Scarpello admits that Defendant Scott is a licensed attorney who was involved in suits concerning

the certification of the 2020 election results. Defendant Scarpello is without sufficient information

or knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       24.     Paragraph 24 contains references to the Election Code, which speaks for itself.

       25.     Paragraph 25 contains references to the Election Code, which speaks for itself.

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        26.      Paragraph 26 contains references to the Election Code and legal arguments

regarding the Texas Election Code, which speaks for itself. To the extent any response is required,

Defendant Scarpello admits that the Secretary of State office may be involved in identifying certain

violations of the Election Code.

        27.      Paragraph 27 contains references to the Election Code, which speaks for itself.

        28.      Paragraph 28 contains references to the Election Code, which speaks for itself. To

the extent any response is required, Defendant Scarpello admits that the Secretary of State

prescribes the form to be completed by certain persons providing assistance to voters.

        29.      Paragraph 29 contains references to the Election Code, which speaks for itself.

        30.      Paragraph 30 contains references to the Election Code, which speaks for itself.

        31.      Paragraph 31 contains references to the Election Code and legal arguments

regarding the Texas Election Code, which speaks for itself. To the extent any response is required,

Defendant Scarpello admits that the Secretary of State has an active role in enforcing the provisions

of the Election Code, some of which carry criminal penalties.

        32.      Paragraph 32 contains references to the Election Code, which speaks for itself.

        33.      Paragraph 33 contains references to the Secretary of State website, which speaks

for itself

        34.      Paragraph 34 contains references to SB 1, which speaks for itself. As to the

remaining allegations, Defendant admits a “Poll Watchers Guide” is available on the SOS website.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

        35.      Paragraph 35 contains references to SB 1/Election Code, which speaks for itself.



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         36.   Paragraph 36 is ambiguous as to “chief law enforcement officer.” Defendant

Scarpello admits Warren K. Paxton is the attorney general of Texas. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

         37.   Paragraph 37 contains references to case law, which speaks for itself, and is

ambiguous as to “chief law enforcement officer.” Defendant Scarpello admits Warren K. Paxton

is the attorney general of Texas. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

         38.   Paragraph 38 contains references to the Attorney General website, which speaks

for itself.

         39.   Paragraph 39 contains legal conclusions and legal arguments to which no response

is required. As to the remaining allegations, Defendant Scarpello admits that Defendant Paxton

has filed suit to enforce provisions of the Election Code, including restricting certain actions of a

local election official concerning mail ballot applications.      Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

         40.   Paragraph 40 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond. To the extent any response is required, Defendant Scarpello admits that

Defendant Paxton announced the formation of a Texas Election Integrity Unit and has stated that

the prosecution of election related offenses is one of his priorities. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

         41.   Defendant Scarpello admits paragraph 41.

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       42.     Paragraph 42 is not directed at Defendant Scarpello and Defendant Scarpello is not

required to respond.

       43.     Paragraph 43 contains references to the Election Code. To the extent any response

is required, Defendant Scarpello admits that local election officials are involved in administering

local elections in Texas pursuant to, inter alia, federal and state law, including the Texas Election

Code and Texas Administrative Code rules and forms promulgated by the Secretary of State; and,

local election officials review ballot applications, mail carrier and ballot envelopes to voters,

receive and process marked ballots, and count the results. Paragraph 43 is vague as to “local

election officials;” thus, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations in Paragraph 43 as to verifying voter signatures.

       44.     Paragraph 44 contains references to the Election Code, which speaks for itself. To

the extent any response is required, Defendant Scarpello admits.

       45.     Paragraph 45 contains references to the Election Code, which speaks for itself. To

the extent any response is required, Defendant Scarpello admits.

       46.     Paragraph 46 contains references to the Election Code, which speaks for itself, and

is vague as to “enforcing a number of SB1’s challenged provisions.” As to the remainder of the

allegations, Defendant Scarpello admits that he is responsible for implementing and enforcing

certain challenged provisions of SB 1 in Dallas County. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 46, therefore

the allegations are denied.

       47.     All of Paragraph 47 is not directed at Defendant Scarpello and Defendant Scarpello

is not required to respond to such sections. As to the remainder of the allegations, Defendant

Scarpello admits that he is responsible for enforcing certain challenged provisions of SB 1 in

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Dallas County. Defendant Scarpello is without sufficient information or knowledge to admit or

deny the remaining allegations in Paragraph 47, therefore the allegations are denied.

                                   IV. FACT BACKGROUND

A.   Texas law has long restricted Latino and Black citizens’ right to vote.

       48.     Paragraph 48 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello admits that Texas has a history of

discrimination against Latino and Blacks in the voting and electoral processes. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       49.     Defendant Scarpello admits that Texas gained statehood in 1845. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       50.     Paragraph 50 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello admits that Latinos and Blacks were disenfranchised

at certain points in Texas history, Texas had a poll tax which was intended to disenfranchise blacks,

and poll tax was found unconstitutional by the Supreme Court. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

       51.     Paragraph 51 contains arguments to which no response is required and references

to prior statutes and a newspaper article that speak for themself. To the extent that the allegations

in Paragraph 51 contains factual allegations to which a responsive pleading is required, Defendant

Scarpello admits that at a certain point in Texas history it discriminated against Black and Latino

voters by using poll taxes and an all white primary system which disenfranchised voters of color.

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Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       52.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 52, therefore the allegations are denied.

       53.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 53, therefore the allegations are denied.

       54.     Paragraph 54 contains references to case law that speaks for itself. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       55.     Paragraph 55 contains legal conclusions and arguments to which no response is

required and references to case law that speaks for itself. To the extent that the allegations in

Paragraph 55 contains factual allegations to which a responsive pleading is required, Defendant

Scarpello admits that Texas has adopted voting measures such as photo voter identification that

court(s) have held had a discriminatory effect on Latinos or Blacks. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

       56.     Paragraph 56 contains arguments to which no response is required. As to the

remainder of the allegations, Defendant Scarpello admits that in 2019 former Secretary of State

David Whitley issued an advisory decision to county registrars about a list of 95,000 noncitizens

who were unlawfully registered to vote and that needed to be purged. Defendant Scarpello further

admits that the list had errors, including failing to account for noncitizens who had since become

naturalized and were registered to vote. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

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B.      Before SB 1, Texas was already among the states that made it hard to vote.

       57.     Defendant Scarpello admits that Texas voting procedures are some of the most

onerous that he has seen. Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations in Paragraph 57, therefore the allegations are denied.

       58.     Paragraph 58 contains arguments to which no response is required and is vague as

to “some special showing.” As to the remainder of the Allegations, Defendant Scarpello admits

that many states have less restrictive voting by mail laws and that voting by mail in Texas is for

individuals who (a) are 65 or older; (b) are sick or disabled; (c) will be out of the county during

the entire election period (early voting and election day); or (d) are confined to jail but otherwise

eligible to vote. Defendant Scarpello is without sufficient information or knowledge to admit or

deny the remaining allegations, therefore the allegations are denied.

       59.     Paragraph 59 contains references to statistical data that speaks for itself. As to the

remainder, Defendant Scarpello is without sufficient information or knowledge to admit or deny

the allegations in Paragraph 59, therefore the allegations are denied.

C. The 2020 General Election tested Texas voters in the unprecedented ways – and Texans
passed with flying colors.

       60.     Paragraph 60 contains references to statistical data that speaks for itself. As to the

remainder, Defendant Scarpello admits that the 2018 midterm elections saw highest voter turnout

in Dallas County compared to the previous midterms. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remainder of the allegations, therefore the

allegations are denied.

       61.     Paragraph 61 contains references to statistical data that speaks for itself. As to the

remainder, Defendant Scarpello admits that in the 2020 general election there was record turnout


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in spite of the Covid-19 pandemic which has killed tens of thousands in Texas. Defendant

Scarpello is without sufficient information or knowledge to admit or deny same, therefore the

allegations are denied.

        62.     Defendant Scarpello admits that election officials and poll works in Dallas County

faced unprecedented obstacles and threats to health and safety due to Covid-19, and that some

election officials and poll workers suffered threats and harassment from members of the public.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remainder

of the allegations, therefore the allegations are denied.

        63.     Defendant Scarpello admits that in the 2020 general election there was an increased

in turnout in Texas, as to the remainder of the allegations, Defendant Scarpello is without sufficient

information or knowledge to admit or deny same, therefore the allegations are denied.

        64.     Paragraph 64 is vague as to “community based civic engagement.” Defendant

Scarpello admits that some of the increased voter turnout may have been due to efforts by public

officials in Texas to make voting more accessible and faith based and civic engagement by some

organizations. Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 64, therefore the allegations are denied.

        65.     Paragraph 65 references a Secretary of State checklist that speaks for itself. To the

extent that the allegations in Paragraph 65 contains factual allegations to which a responsive

pleading is required, Defendant Scarpello admits.

        66.     Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 66, therefore the allegations are denied. Paragraph 66 references

a Secretary of State checklist that speaks for itself.



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       67.     Paragraph 67 references a gubernatorial proclamation that speaks for itself. To the

extent that the allegations in Paragraph 67 contains factual allegations to which a responsive

pleading is required, Defendant Scarpello admits.

       68.     Paragraph 68 contains arguments to which no response is required and is vague as

to “creative ways.” As to the remainder of the Allegations, Defendant Scarpello admits that some

election officials extended voting hours and added additional mail ballot drop off locations in the

2020 General Election. Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       69.     Defendant Scarpello admits that Harris County had 24-hour voting in certain

polling places and some counties encouraged eligible voters to apply for mail ballots and do so

early. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations in Paragraph 69, therefore the allegations are denied.

       70.     Defendant Scarpello admits that Harris County opened drive-thru voting sites in the

2020 General Election. Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations in Paragraph 70, therefore the allegations are denied.

       71.     Defendant Scarpello admits that more Dallas County eligible voters sought mail in

ballots for the 2020 General Election more than in previous elections. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations in

Paragraph 71, therefore the allegations are denied.

       72.     Paragraph 72 contains arguments to which no response is required and references

to a gubernatorial proclamation that speaks for itself. To the extent that the allegations in Paragraph

72 contains factual allegations to which a responsive pleading is required, Defendant Scarpello

admits that some voters may have sought to vote by mail due to the pandemic to protect their

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health, Governor Abbott issues a proclamation that limited mail ballot drop locations to one per

county and Paxton filed suit against the Harris County Clerk concerning mail ballot applications.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the

allegations in Paragraph 72, therefore the allegations are denied.

D. Following a historically successful election, some Texas politicians made baseless
allegations of cheating.

          73.   Paragraph 73 contains arguments to which no response is required and is vague as

to “resounding success.” As to the remaining allegations in Paragraph 73, Defendant Scarpello

admits.

          74.   Paragraph 74 contains references to statement of Governor Abbott that speaks for

themself. As to the remainder of the allegations, Defendant Scarpello admits that Governor Abbott

stated that election integrity was an important item for the 2021 legislative term. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          75.   Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 75, therefore the allegations are denied.

          76.   Defendant Scarpello admits that he is unaware of any widespread voter fraud.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations in Paragraph 76, therefore the allegations are denied.

E. The Texas Legislature takes up anti-voter legislation.

          77.   Paragraph 77 contains arguments to which no response is required. To the extent a

response is required, Defendant Scarpello admits that the Texas Legislature proposed legislation




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in the name of election integrity. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

          78.   Paragraph 78 contains references to SB 1 and SB 7 that speaks for themself. As to

the remaining allegations, Defendant Scarpello admits that Senator Bryan Hughes introduced SB

7, which did not succeed, and it has some similar provision to SB 1. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

          79.   Paragraph 79 contains references to SB 1 that speaks for itself. As to the remaining

allegations, Defendant Scarpello admits that Senator Bryan Hughes introduced SB 1, which passed

the senate on a party-line vote following a filibuster. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          80.   Paragraph 80 contains references to SB 1 and legislative bill history that speaks for

itself. As to the remaining allegations, Defendant Scarpello admits that SB 1 was heard before the

House Select Committee on Constitutional Rights and Remedies and that the Committee passed

SB 1. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

          81.   Paragraph 81 contains references to SB 1 and legislative bill history that speaks for

itself. As to the remaining allegations, Defendant Scarpello admits that SB 1 was debated in the

house, which adopted several amendments to SB 1. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.



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       82.     Defendant Scarpello admits that the house passed SB 1. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

       83.     Defendant Scarpello admits Paragraph 83.

       84.     Defendant Scarpello admits that the house and senate passed SB 1 and SB 1 was

sent to the Governor for his signature. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       85.     Paragraph 85 contains references to a public statement of the Governor that speaks

for itself. To the extent a response is required, Defendant Scarpello admits that the Legislature

passed SB 1 and the Governor has publicly spoken on election integrity. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

       86.     Defendant Scarpello admits Paragraph 86.

       87.     Admit that SB 1 went into effect on December 2, 2021.

       88.     Defendant Scarpello admits that there will be an election on November 8, 2022 in

Texas. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

F. State officials, including the Secretary, commence a “forensic audit” of Texas elections.

       89.     Paragraph 89 contains references to a public statement of the Secretary of State that

speaks for themself. To the extent a response is required, Defendant Scarpello admits.

       90.     Paragraph 90 contains references to material on the Secretary of State website that

speaks for themself.



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       91.     Paragraph 91 contains references to material on the Secretary of State website that

speaks for themself.

       92.     Paragraph 92 contains references to a governor’s office bulletin and news article

that speak for themself. Defendant Scarpello admits that a new Election Audit Division was formed

by the State, tasked with forensic audits. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations in Paragraph 92, therefore the allegations

are denied.

       G. State officials, including the Attorney General, support increased criminal
       penalties for so-called “illegal voting.”

       93.     Paragraph 93 contains references to a letter and press release of the Governor that

speaks for themself. To the extent a response is required, Defendant Scarpello admits that the

Governor has spoken about increasing penalties for illegal voting. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

       94.     Paragraph 94 references a statement of Dan Patrick that speaks for itself. To the

extent a response is required, Defendant Scarpello is without sufficient information or knowledge

to admit or deny the remaining allegations, therefore the allegations are denied.

       95.     Paragraph 95 references a tweet by Paxton that speaks for itself. To the extent a

response is required, Defendant Scarpello is without sufficient information or knowledge to admit

or deny the remaining allegations, therefore the allegations are denied.

       96.     Paragraph 96 contains reference to SB 10 that speaks for itself. To the extent a

response is required, Defendant Scarpello admits that the legislature discussed increasing the




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penalty for illegal voting. Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

          H. SB 1 imposes burdens that will discourage, intimidate and deter eligible Texas
          voters, and will disproportionately impact voters of color and voters with disabilities.

          97.    Paragraph 97 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          1.     SB1 restricts the ability of eligible Texans, including voters who have limited
                 English proficiency, disabilities, and less formal education, to access voter
                 assistance.

          98.    Paragraph 98 references a statement of Representative Bernard that speaks for

itself.

          99.    Paragraph 99 contains legal conclusions or arguments to which no response is

required and makes references with to SB 1 that speak for itself. Defendant Scarpello admits that

the limitations on certain assistance to voters in the presence of an official ballot may deter some

from assisting a voter due to the statutory provisions and penalties. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

          100.   Paragraph 100 contains references to statistical data that speaks for itself. To the

extent a response is required, Defendant Scarpello admits that there are US Citizens with limited

English proficiency in various Texas counties and there are Latinos and Asian Americans with

limited English proficiency in Texas. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remainder of the allegations, therefore the allegations are denied.


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          101.   Paragraph 101 contains references to statistical data that speaks for itself. To the

extent a response is required, Defendant Scarpello is without sufficient information or knowledge

to admit or deny the remainder of the allegations, therefore the allegations are denied.

          102.   Paragraph 102 contains legal conclusions to which no response is required and

references to SB 1 that speaks for itself. To the extent a response is required, Defendant Scarpello

admits that SB 1 creates new requirements for election officials and voters. Defendant Scarpello

is without sufficient information or knowledge to admit or deny the remaining allegations,

therefore the allegations are denied.

          103.   Paragraph 103 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello admits that SB 1 promulgates new rules regarding providing assistance to a

voter, including the oath the assistor must take. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          104.   Paragraph 104 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          105.   Paragraph 105 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remaining allegations, Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.



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       106.    Paragraph 106 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remaining allegations, Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       107.    Paragraph 107 contains legal arguments to which no response is required and

references to SB 1 that speaks for itself. As to the remaining allegations, Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

       108.    Paragraph 108 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello admits that the oath requirements may slow down in-person voting where

assistance is needed. Defendant Scarpello is without sufficient information or knowledge to admit

or deny the remaining allegations, therefore the allegations are denied.

       109.    Paragraph 109 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello admits that the criminal penalties may deter some from assisting a voter.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       110.    Paragraph 110 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remaining allegations, Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.



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       111.    Paragraph 111 contains arguments to which no response is required. To the extent

a response is required, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       2. SB 1 opens the door to intimidation and misconduct at the polls by tying the hands
       of poll workers and election officials.

       112.    Defendant Scarpello admits that it is important for poll workers and election

officials to effectively control and (if necessary) remove poll watchers who are unruly or violating

the law. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       113.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 113, therefore the allegations are denied.

       114.    Paragraph 114 contains arguments to which no response is required and references

to SB 1 that speaks for itself. To the extent a response is required, Defendant Scarpello admits the

loosened restrictions on poll watchers may make the work of poll workers more difficult.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       115.    Paragraph 115 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello admits that SB 1 promulgates new rules governing the acceptance of poll

watchers and Section 4.06 criminalizes refusing to accept a poll watcher in certain instances.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.




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          116.   Paragraph 116 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remaining allegations, Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          117.   Paragraph 117 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello admits that the new rules may create situations where a poll worker could

cause disruption. Defendant Scarpello is without sufficient information or knowledge to admit or

deny the remaining allegations, therefore the allegations are denied.

          118.   Paragraph 118 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello admits that the new rules does not set out protections to a poll worker who in

good faith places themselves between a voter and a disruptive poll watcher. Defendant Scarpello

is without sufficient information or knowledge to admit or deny the remaining allegations,

therefore the allegations are denied.

          119.   Paragraph 119 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself.

          120.   Paragraph 120 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          121.   Paragraph 121 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

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Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       122.    Paragraph 122 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello admits that SB 1 does not set out objective standards regarding what conduct

constitutes “obstruct the view of a watcher.” Defendant Scarpello is without sufficient information

or knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       123.    Paragraph 123 contains legal conclusions and arguments to which no response is

required, Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

       124.    Paragraph 124 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello admits that SB 1 may make

staffing each polling location more difficult. Defendant Scarpello is without sufficient information

or knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       125.    Paragraph 125 contains legal conclusions and arguments to which no response is

required, Defendant Scarpello admits that certain new requirements of SB 1 falls on the voter and

election workers may run the risk of criminal prosecution based on the new poll watcher

provisions. Defendant Scarpello is without sufficient information or knowledge to admit or deny

the remaining allegations, therefore the allegations are denied.

       3. SB 1 prohibits voting procedures that facilitated record voter participation in 2020,
       despite no evidence that these measures contribute to voter fraud.’

       126.    Paragraph 126 contains legal conclusions and arguments to which no response is

required and is vague as to “important accommodations.” As to the remainder of the allegations,


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Defendant admits that some measures taken by other election departments before SB 1 are not

allowed under SB 1. Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

          127.   Paragraph 127 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          128.   Paragraph 128 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello admits that Harris County used drive-thru voting in the 2020 General

Election. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

          129.   Paragraph 129 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello admits Paragraph 129.

          130.   Paragraph 130 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          4. SB1 criminalizes otherwise lawful voter assistance by community-based
          nonpartisan organizations through vague and overbroad “vote harvesting”
          prohibitions.

          131.   Paragraph 131 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

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Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       132.    Paragraph 132 contains references to SB 1 that speaks for itself.

       133.    Paragraph 133 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remaining allegations, Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       134.    Paragraph 134 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remaining allegations, Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       135.    Paragraph 135 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       136.    Paragraph 136 contains legal conclusions and arguments to which no response is

required and statutory citations that speaks for themself. As to the remaining allegations,

Defendant Scarpello admits that without Secretary of State guidance, some provisions of SB 1 are

unclear. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

       137.    Paragraph 137 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,



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Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       5.      SB1’s signature requirement burdens the rights of voters with disabilities.

       138.    Paragraph 138 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       139.    Paragraph 139 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       6.     SB1 further burdens state officials and expands investigation of voter
       registration applicants and registered voters, despite no evidence of widespread
       voter fraud.

       140.    Defendant Scarpello admits that he is unaware of any widespread voter fraud.

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations in Paragraph 140, therefore the allegations are denied.

       141.    Paragraph 141 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remaining allegations, Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       142.    Paragraph 142 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required



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Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       143.    Paragraph 143 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       144.    Paragraph 144 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       145.    Paragraph 145 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       I.      SB1 Will Harm Plaintiffs.

       146.    Paragraph 146 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       147.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 147, therefore the allegations are denied.

       148.    Paragraph 148 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

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       149.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 149, therefore the allegations are denied.

       150.    Paragraph 150 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       151.    Paragraph 151 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       152.    Paragraph 152 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       153.    Paragraph 153 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       154.    Paragraph 154 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       155.    Paragraph 155 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       156.    Paragraph 156 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

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       157.    Paragraph 157 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       158.    Paragraph 158 contains legal conclusions and arguments to which no response is

required and references a provision of the Texas Election Code that speaks for itself. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       159.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 159, therefore the allegations are denied.

       160.    Paragraph 160 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       161.    Paragraph 161 contains legal conclusions and arguments to which no response is

required and references a provision of the Texas Election Code that speaks for itself. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       162.    Paragraph 162 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello admits that the majority of

Friendship-West’s congregation is black. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       163.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 163, therefore the allegations are denied.



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       164.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 164, therefore the allegations are denied.

       165.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 165, therefore the allegations are denied.

       166.    Paragraph 166 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the allegations in Paragraph 166, therefore the allegations are denied.

       167.    Paragraph 167 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       168.    Paragraph 168 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       169.    Paragraph 169 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       170.    Paragraph 170 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       171.    Paragraph 171 contains legal conclusions and arguments to which no response is

required and reference to a provision in the Texas Election Code that speaks for itself. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

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       172.    Paragraph 172 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       173.    Paragraph 173 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       174.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the remaining allegations, therefore the allegations are denied.

       175.    Paragraph 175 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       176.    Paragraph 176 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       177.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny allegations, therefore the allegations are denied.

       178.    Paragraph 178 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       179.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 179, therefore the allegations are denied.




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       180.    Paragraph 180 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       181.    Paragraph 181 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       182.    Paragraph 182 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       183.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 183, therefore the allegations are denied.

       184.    Defendant Scarpello admits Paragraph 184.

       185.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 185, therefore the allegations are denied.

       186.    Paragraph 186 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       187.    Paragraph 187 arguments to which no response is required. As to the remaining

allegations, Defendant Scarpello is without sufficient information or knowledge to admit or deny

the remaining allegations, therefore the allegations are denied.

       188.    Paragraph 188 contains legal conclusions to which no response is required. As to

the remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

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       189.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 189, therefore the allegations are denied.

       190.    Paragraph 190 contains legal conclusions and arguments to which no response is

required. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

allegations in Paragraph 190, therefore the allegations are denied.

       191.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 191, therefore the allegations are denied.

       192.    Paragraph 192 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       193.    Paragraph 193 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       194.    Paragraph 194 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       195.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 195, therefore the allegations are denied.

       196.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 196, therefore the allegations are denied.

       197.    Paragraph 197 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

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       198.    Paragraph 198 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       199.    Paragraph 199 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       200.    Paragraph 200 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       201.    Paragraph 201 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       202.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 202, therefore the allegations are denied.

       203.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 203, therefore the allegations are denied.

       204.    Paragraph 204 contains legal arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       205.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 205, therefore the allegations are denied.




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       206.    Paragraph 206 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       207.    Paragraph 207 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       208.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 208, therefore the allegations are denied.

       209.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 209, therefore the allegations are denied.

       210.    Paragraph 210 contains legal arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       211.    Paragraph 211 contains legal arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

       212.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 212, therefore the allegations are denied.

       213.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 213, therefore the allegations are denied.

       214.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 214, therefore the allegations are denied.



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       215.     Paragraph 215 contains arguments to which no response is required. As to the

remaining allegations, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

                                           COUNT I
                     Against Defendants Scott, Paxton, Scarpello and Wise
              SB1 violates the First and Fourteenth Amendment of the U.S. Constitution.

       216.     With regard to Paragraph 216, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

       217.     Paragraph 217 contains statements to which no response is required.

       218.     Paragraph 218 contains citations to case law that speaks for itself.

       219.     Paragraph 219 contains citations to case law that speaks for itself.

       220.     Paragraph 220 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remaining allegations, Defendant

Scarpello admits that SB 1 adds new requirements for providing assistance at the polling place,

curbside, or in connection with mail in ballots, SB 1 grants certain authority to poll watchers, SB

1 adopts rules on vote harvesting, SB 1 restricts drive thru voting, the use of movable structures,

and 24-hour voting, and SB 1 criminalizes certain conduct. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

       221.     Paragraph 221 of Plaintiff’s Complaint contains legal conclusions and arguments

to which no responsive pleading is required and references to SB 1 that speaks for itself. To the

extent that the allegations in Paragraph 221 contains factual allegations to which a responsive

pleading is required, Defendant Scarpello admits that SB 1 creates criminal penalties for violation

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of some of its ballot assistance and vote harvesting provisions. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

       222.    Paragraph 222 of Plaintiff’s Complaint contains legal conclusions and arguments

to which no responsive pleading is required references to SB 1 that speaks for itself. To the extent

that the allegations in Paragraph 222 contains factual allegations to which a responsive pleading

is required, Defendant Scarpello admits that SB 1 includes oath requirements and enhanced

criminal penalties for violation of some of its voter assistance provisions. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

       223.    Paragraph 223 of Plaintiff’s Complaint contains legal conclusions and arguments

to which no responsive pleading is required and references to SB 1 that speaks for itself. To the

extent that the allegations in Paragraph 223 contains factual allegations to which a responsive

pleading is required, Defendant Scarpello admits that SB 1 criminalizes certain forms of

compensated ballot assistance. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.

       224.    Paragraph 224 of Plaintiff’s Complaint contains legal conclusions and arguments

to which no responsive pleading is required. To the extent that the allegations in Paragraph 224

contains factual allegations to which a responsive pleading is required, Defendant Scarpello admits

that some states allow eligible voters to vote by mail and Texas imposes more restrictions on mail

voting than most states in the county. Defendant Scarpello is without sufficient information or

knowledge to admit or deny the remaining allegations, therefore the allegations are denied.



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       225.    Paragraph 225 of Plaintiff’s Complaint contains legal conclusions and arguments

to which no responsive pleading is required. To the extent that the allegations in Paragraph 225

contains factual allegations to which a responsive pleading is required, Defendant Scarpello admits

that SB 1 includes new rules on filling out mail ballots and applications for mail ballots. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       226.    Paragraph 226 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remaining allegations, Defendant

Scarpello admits that it is possible that elections workers may be deterred from taking action

against a poll watcher due to the criminal penalties in SB 1. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

       227.    Paragraph 227 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remaining allegations, Defendant

Scarpello admits that SB 1 places limitations on polling place locations and hours. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       228.    Paragraph 228 of Plaintiff’s Complaint contains legal conclusions and arguments

to which no responsive pleading is required. To the extent that the allegations in Paragraph 228

contains factual allegations to which a responsive pleading is required, Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

                                            COUNT II

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                          Defendants Scott, Paxton, Scarpello and Wise
                 SB1 Violates the Fourteenth Amendment of The U.S. Constitution

          229.    With regard to Paragraph 229, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

          230.    Paragraph 230 contains statements to which no response is required.

          231.    Defendant Scarpello admits Paragraph 231.

          232.    Defendant Scarpello admits that he administers Dallas County elections pursuant

to, inter alia, federal and state law, including the Texas Election Code and Texas Administrative

Code rules and forms promulgated by the Secretary of State. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

          233.    Paragraph 233 contains references to a Constitutional provision that speaks for

itself.

          234.    Paragraph 234 contains references to Constitutional provisions and case law that

speak for themself.

          235.    Paragraph 235 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          236.    Paragraph 236 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,




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Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          237.   Paragraph 237 contains arguments to which no response is required and references

to court holdings that speak for themself. Defendant Scarpello admits that Texas has a history of

discrimination against Latino and Blacks in the voting and electoral processes. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          238.   Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 238, therefore the allegations are denied.

          239.   Paragraph 239 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 239, therefore

the allegations are denied.

          240.   Paragraph 240 contains legal conclusions and arguments to which no response is

required and. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          241.   Paragraph 241 contains legal conclusions and arguments to which no response is

required and. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          242.   Paragraph 242 contains arguments to which no response is required and references

to court holdings that speak for themself. Defendant Scarpello admits that SB 1 was enacted and

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that Texas has a history of racial discrimination in the voting context. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

                                           COUNT III
                     Against Defendants Scott, Paxton, Scarpello and Wise
                 SB1 Violates the Fifteenth Amendment of the U.S. Constitution

          243.   With regard to Paragraph 243, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

          244.   Paragraph 244 contains statements to which no response is required.

          245.   Paragraph 245 contains references to a Constitutional provision that speaks for

itself.

          246.   Paragraph 246 contains references to Constitutional provisions and case law that

speak for themself.

          247.   Paragraph 247 contains references to Constitutional provisions and case law that

speak for themself.

          248.   Paragraph 248 contains legal conclusions and arguments to which no response is

required. As to the remaining allegations, Defendant Scarpello admits that SB 1 was enacted by

the Texas Legislature. Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

          249.   Paragraph 249 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

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          250.   Paragraph 259 contains arguments to which no response is required and references

to court holdings that speak for themself. Defendant Scarpello admits that Texas has a history of

discrimination against Latino and Blacks in the voting and electoral processes. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          251.   Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 251, therefore the allegations are denied.

          252.   Paragraph 252 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 252, therefore

the allegations are denied.

          253.   Paragraph 253 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          254.   Paragraph 254 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          255.   Paragraph 255 contains arguments to which no response is required and references

to court holdings that speak for themself. Defendant Scarpello admits that SB 1 was enacted and

that Texas has a history of racial discrimination in the voting context. Defendant Scarpello is



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without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

                                           COUNT IV
                                     Against All Defendants
                           SB1 discriminates against minority voters
         in violation of Section 2 of the Voting Rights Act, 52 U.S.C. § 10301, et seq.

       256.    With regard to Paragraph 256, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

       257.    Paragraph 257 contains statements to which no response is required.

       258.    Paragraph 258 contains references to the Voting Rights Act that speaks for itself.

       259.    Paragraph 259 contains references to case law that speaks for itself.

       260.    Paragraph 260 contains references to case law that speaks for itself.

       261.    Paragraph 261 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       262.    Paragraph 262 contains arguments to which no response is required and references

to court holdings that speak for themself. Defendant Scarpello admits that Texas has a history of

discrimination against Latino and Blacks in the voting and electoral processes. Defendant

Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

       263.    Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 263, therefore the allegations are denied.


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          264.   Paragraph 263 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 264, therefore

the allegations are denied.

          265.   Paragraph 265 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          266.   Paragraph 266 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

                                         COUNT V
                                  Against All Defendants
SB1 impedes voters’ practical ability to get necessary and statutorily guaranteed assistance
         in violation of Section 208 of the Voting Rights Act, 52 U.S.C. § 10508.

          267.   With regard to Paragraph 267, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

          268.   Paragraph 268 contains statements to which no response is required.

          269.   Paragraph 269 contains references to the Voting Rights Act that speaks for itself.

          270.   Paragraph 270 contains legal conclusions and arguments and references to statute

that speaks for itself.




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       271.    Paragraph 271 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remaining allegations, Defendant

Scarpello admits that Texas election law provides voters who need assistance with the right to

receive such assistance and SB 1 places limitations on certain assistance. Defendant Scarpello is

without sufficient information or knowledge to admit or deny the remaining allegations, therefore

the allegations are denied.

       272.    Paragraph 272 contains legal conclusions and arguments to which no response is

required and references to case law that speaks for itself. As to the remaining allegations,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

                                          COUNT VI
                                    Against All Defendants
                 SB1 discriminates against voters on the basis of a disability
   in violation of Title II of the Americans with Disability Act, 42 U.S.C. § 12131, et seq.

       273.    With regard to Paragraph 273, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

       274.    Paragraph 274 contains statements to which no response is required.

       275.    Paragraph 275 contains references to the ADA that speaks for itself.

       276.    Paragraph 276 contains references to the ADA and other statutes that speaks for

themself.

       277.    Paragraph 277 contains references to the ADA that speaks for itself.

       278.    Paragraph 278 contains references to statute and case law that speaks for themself.

To the extent a response is required, Defendant Scarpello admits that certain provisions of the


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ADA apply to voting and local governments must comply with certain provision of the ADA so

people with disabilities can vote.

          279.   Paragraph 279 contains legal conclusions to which no response is required and

references to statute that speaks for itself. Paragraph 279 is also vague as to “public entities” in

that Defendant Scarpello is not a public entity, a separate jural entity, or the governing body of

Dallas County. To the extent a response is required, Defendant Scarpello admits that the State of

Texas is a public entity and it must comply with Title II of the ADA and Defendant Scarpello

supervises voting operations in Dallas County. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          280.   Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 280, therefore the allegations are denied.

          281.   Paragraph 281 contains legal conclusions and arguments to which no response is

required and references to case law that speaks for itself. As to the remaining allegations,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          282.   Paragraph 282 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. To the extent a response is required,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          283.   Paragraph 283 contains legal conclusions and arguments to which no response is

required.    To the extent a response is required, Defendant Scarpello is without sufficient



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information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          284.   Paragraph 284 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          285.   Paragraph 285 contains legal conclusions and arguments to which no response is

required. To the extent a response is required, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          286.   Paragraph 286 contains arguments to which no response is required. To the extent

a response is required, Defendant Scarpello is without sufficient information or knowledge to

admit or deny the remaining allegations, therefore the allegations are denied.

                                            COUNT VII
                                Against Defendants Scott and Paxton
              Section 7.04 of SB1 is unconstitutionally vague and burdens free speech
          in violation of the First and Fourteenth Amendments to the U.S. Constitution.

          287.   With regard to Paragraph 287, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

          288.   Paragraph 288 contains statements to which no response is required.

          289.   Paragraph 289 references the Election Code that speaks for itself and is ambiguous

as to “chief law enforcement officer.” Defendant Scarpello admits Scott is the chief election




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officer. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

          290.   Paragraph 290 contains references to case law that speaks for itself.

          291.   Paragraph 291 contains references to case law that speaks for itself.

          292.   Paragraph 292 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remainder of the allegations,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          293.   Paragraph 293 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remainder of the allegations,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          294.   Paragraph 294 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remainder of the allegations,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          295.   Paragraph 295 contains legal conclusions and arguments to which no response is

required and. As to the remainder of the allegations, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          296.   Paragraph 296 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remainder of the allegations,



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Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          297.   Paragraph 297 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remainder of the allegations,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          298.   Paragraph 298 contains arguments to which no response is required and references

to case law that speaks for itself.

          299.   Paragraph 299 contains legal conclusions and arguments to which no response is

required and references to SB 1 and case law that speak for themself. As to the remainder of the

allegations, Defendant Scarpello is without sufficient information or knowledge to admit or deny

the remaining allegations, therefore the allegations are denied.

          300.   Defendant Scarpello is without sufficient information or knowledge to admit or

deny the allegations in Paragraph 300, therefore the allegations are denied.

          301.   Paragraph 301 contains legal conclusions and arguments to which no response is

required and references to SB 1 and statutes that speak for themself. As to the remainder of the

allegations, Defendant Scarpello is without sufficient information or knowledge to admit or deny

the remaining allegations, therefore the allegations are denied.

          302.   Paragraph 302 contains legal conclusions and arguments to which no response is

required. As to the remainder of the allegations, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

                                           COUNT VIII

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                               Against Defendants Scott and Paxton

                            Section 4.09 of SB1 is unconstitutionally vague
                 in violation of the Fourteenth Amendment to the U.S. Constitution

          303.    With regard to Paragraph 303, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

          304.    Paragraph 304 contains statements to which no response is required.

          305.    Paragraph 305 is ambiguous as to “chief law enforcement officer.” Defendant

Scarpello admits Scott is the chief election officer. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          306.    Paragraph 306 contains legal arguments to which no response is required and

references to SB 1 that speaks for itself. To the extent a response is required, Defendant Scarpello

admits.

          307.    Paragraph 307 contains legal arguments to which no response is required and

references to SB 1 that speaks for itself. As to the remainder of the allegations, Defendant Scarpello

is without sufficient information or knowledge to admit or deny the remaining allegations,

therefore the allegations are denied.

          308.    Paragraph 308 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remainder of the allegations,

Defendant Scarpello admits that SB 1 does not set out the interactions with a poll watcher that

would avoid criminal liability. Defendant Scarpello is without sufficient information or knowledge

to admit or deny the remaining allegations, therefore the allegations are denied.


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          309.   Paragraph 309 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remainder of the allegations,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          310.   Paragraph 310 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remainder of the allegations,

Defendant Scarpello admits that it is possible that elections workers may refrain from taking action

against a poll watcher due to the criminal penalties in SB. Defendant Scarpello is without

sufficient information or knowledge to admit or deny the remaining allegations, therefore the

allegations are denied.

          311.   Paragraph 311 contains legal conclusions and arguments to which no response is

required and. As to the remainder of the allegations, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

                                         COUNT IX
                    Against Defendants Scott, Paxton, Scarpello and Wise
                  SB1 violates the Supremacy Clause of the U.S. Constitution.

          312.   With regard to Paragraph 312, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

          313.   Paragraph 313 contains statements to which no response is required.

          314.   Paragraph 314 references the Election Code that speaks for itself and is ambiguous

as to “chief law enforcement officer.” Defendant Scarpello admits Scott is the chief election



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officer. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

          315.   Defendant Scarpello admits that he is the local election official in Dallas County

tasked with administering elections in Dallas County. Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          316.   Paragraph 316 contains legal conclusions and arguments to which no response is

required. As to the remainder of the allegations, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          317.   Paragraph 317 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remainder of the allegations,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          318.   Paragraph 318 contains legal conclusions and arguments to which no response is

required and references statute that speaks for itself.

          319.   Paragraph 319 contains legal references to statutory history that speaks for itself.

          320.   Paragraph 320 contains legal conclusions and arguments to which no response is

required and references SB 1 that speaks for itself. As to the remainder of the allegations,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          321.   Paragraph 321 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speaks for itself. As to the remainder of the allegations,

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Defendant Scarpello admits that the criminal penalties in SB 1 may deter some from assisting a

voter. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

          322.   Paragraph 322 contains legal conclusions and arguments to which no response is

required and. As to the remainder of the allegations, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          323.   Paragraph 232 contains legal conclusions and arguments to which no response is

required. As to the remainder of the allegations, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

                                           COUNT X
                     Against Defendants Scott, Paxton, Scarpello and Wise
          SB1 violates the First and Fourteenth Amendments of the U.S. Constitution.

          324.   With regard to Paragraph 324, Defendant Scarpello repeats and reaffirms its

answers to each and every allegation contained in the paragraphs above and incorporate the same

herein as though fully set forth herein.

          325.   Paragraph 325 contains statements to which no response is required.

          326.   Paragraph 326 references the Election Code that speaks for itself and is ambiguous

as to “chief law enforcement officer.” Defendant Scarpello admits Scott is the chief election

officer. Defendant Scarpello is without sufficient information or knowledge to admit or deny the

remaining allegations, therefore the allegations are denied.

          327.   Defendant Scarpello admits that he is the local election official in Dallas County

tasked with administering elections in Dallas County. Defendant Scarpello is without sufficient

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information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          328.   Paragraph 328 contains legal conclusions and arguments to which no response is

required and references to SB 1 that speak for itself. As to the remainder of the allegations,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

          329.   Paragraph 329 contains legal conclusions and arguments to which no response is

required. As to the remainder of the allegations, Defendant Scarpello is without sufficient

information or knowledge to admit or deny the remaining allegations, therefore the allegations are

denied.

          330.   Paragraph 330 contains legal conclusions and arguments to which no response is

required and references SB 1 that speaks for itself. As to the remainder of the allegations,

Defendant Scarpello is without sufficient information or knowledge to admit or deny the remaining

allegations, therefore the allegations are denied.

                                     PRAYER FOR RELIEF

          331.   Defendant Scarpello denies the allegations contained in the Prayer section of the

Complaint [1-5] to and denies that Plaintiff is entitled to the relief requested, including declaratory

or injunctive relief relative to Defendant Scarpello, and denies that Plaintiff may recover any costs,

disbursements, and reasonable attorney’s fees from Defendant Scarpello.

                            DEFENSES AND AFFIRMATIVE DEFENSES

          332.   By pleading the following Defenses or Affirmative Defenses, Defendant does not

concede that each of the matters covered by the numbered defenses is to be proven by Defendant,



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and Defendant reserves its position that Plaintiffs retain the burden of proof on all matters

necessary to prove the claims asserted in the Complaint and to establish their alleged damages.

                                        FIRST DEFENSE

        333.   The Complaint, in whole or in part, fails to state a claim upon which relief can be

granted as to Defendant Scarpello.

                                       SECOND DEFENSE

        334.   Defendant Scarpello at all times acted in accordance with the United States

Constitution and the laws of the State of Texas and in good faith.

                                        THIRD DEFENSE

        335.   Plaintiffs lack standing on some or all off their claims.

                                       FOURTH DEFENSE

        336.   Plaintiffs Section 1983 claims are barred to the extent that Defendant Scarpello is

not a policymaker as to SB111. Defendant Scarpello is not empowered or authorized to change

Texas law passed by the Legislature and signed by the Governor. Defendant Scarpello also is not

afforded discretion in enforcement of the requirements under SB111.

                                        FIFTH DEFENSE

        337.   Plaintiffs’ claims are barred in whole or in part by sovereign immunity, including

11th amendment immunity to the extent that Defendant Scarpello is enforcing/applying state law,

SB 1.

                                        SIXTH DEFENSE

        338.   Plaintiffs’ claims against Defendant Scarpello are barred to the extent that he has

no power to redress Plaintiffs’ injuries.

                                      SEVENTH DEFENSE

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       339.     To the extent that Plaintiffs have not sustained any injury or damage as a result of

any actions taken by Defendant Scarpello, they should be barred from recovering against him.

Equity and justice bar Plaintiffs’ recovery of attorneys’ fees from Defendant Scarpello in this

lawsuit.

       340.     Defendants reserve the right to raise additional defenses and affirmative defenses

to the claims alleged.

                                         JURY DEMAND

       341.     Defendant Scarpello hereby demands a trial by jury on all triable issues. Fed. R.

Civ. P. 38(b); Fed. R. Civ. P. 81(c)(3)(b).

                                                PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant Scarpello prays that the Court

will dismiss this suit with prejudice as to Defendant Scarpello, that Plaintiff take nothing by this

action against him, that he recover his costs including a reasonable attorney’s fee herein, and any

other relief to which he may be justly entitled under the law.

                                              Respectfully submitted,

                                              JOHN CREUZOT
                                              DISTRICT ATTORNEY

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                                             AS DALLAS COUNTY ELECTIONS
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                                CERTIFICATE OF SERVICE

       I, the undersigned counsel, certify that I electronically transmitted the attached document

to the Clerk of Court using the ECF System for filing on December 15, 2021. Based on the records

currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following

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